                              Case 2:20-cv-02327-AB-E Document 21 Filed 10/19/20 Page 1 of 15 Page ID #:223



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                          6

                          7

                          8                             UNITED STATES DISTRICT COURT
                          9                  CENTRAL DISTRICT OF CALIFORNIA - WESTERN DIVISION
                         10

                         11       REGINE INGRAM and EUGENE                      Case No: 2:20-CV-02327-AB-(EX)
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                                  INGRAM,                                       ASSIGNED TO DISTRICT JUDGE
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                         12
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                                                                                ANDRE BIROTTE JR
                                          Plaintiffs,                           COURTROOM 7B
                         13                                                     CHARLES F. EICK (MAGISTRATE
                                     v.                                         JUDGE)
                         14
                                  COSTCO WHOLESALE                              LOS ANGELES COUNTY SUPERIOR
                         15       CORPORATION, a Washington                     ACTION CASE NO: 19STCV00950
                                  Corporation; and DOES 1 through 50,           ASSIGNED TO HON. JUDGE MARC
                         16       inclusive,                                    GROSS
                                                                                Assigned to Hon. Judge Marc Gross
                         17               Defendants.                           (Complaint filed on January 10, 2019)
                         18
                                                                                STIPULATED PROTECTIVE ORDER
                         19
                                                                                Trial Date: July 20, 2021
                         20
                                 PROPOUNDING PARTY:           Plaintiffs, REGINE INGRAM & EUGENE INGRAM
                         21
                                 RESPONDING PARTY:            Defendant, COSTCO WHOLESALE CORPORATION
                         22
                                 SET NUMBER:                  ONE (1)
                         23
                                          TO ALL PARTIES AND TO THEIR ATTORNEYS OF RECORD HEREIN:
                         24
                                          Plaintiffs REGINE INGRAM and EUGENE INGRAM and Defendant COSTCO
                         25
                                 WHOLESALE CORPORATION hereby enter into the following stipulated protective
                         26
                                 order:
                         27

                         28
                                                                          -1-

                                                               Stipulated Protective Order
                              Case 2:20-cv-02327-AB-E Document 21 Filed 10/19/20 Page 2 of 15 Page ID #:224



                          1         1. PURPOSES AND LIMITATIONS
                          2            Discovery in this action is likely to involve production of confidential, proprietary,
                          3      or private information for which special protection from public disclosure and from use
                          4      for any purpose other than prosecuting this litigation may be warranted. Accordingly, the
                          5      parties hereby stipulate to and petition the Court to enter the following Stipulated
                          6      Protective Order. The parties acknowledge that this Order does not confer blanket
                          7      protections on all disclosures or responses to discovery and that the protection it affords
                          8      from public disclosure and use extends only to the limited information or items that are
                          9      entitled to confidential treatment under the applicable legal principles. The parties further
                         10      acknowledge, as set forth in Section 12.3, below, that this Stipulated Protective Order does
                         11      not entitle them to file confidential information under seal; Local Rule 79-5 sets forth the
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                         12      procedures that must be followed and the standards that will be applied when a party seeks
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                         13      permission from the court to file material under seal.
                         14

                         15            GOOD CAUSE STATEMENT
                         16            Defendant COSTCO WHOLESALE CORPORATION (“Costco”) maintains that
                         17      its procedures, operations and training materials are confidential, proprietary, commercial
                         18      information pertaining to the internal operations of Costco. Costco maintains that
                         19      dissemination of any information learned throughout the pendency of this action could
                         20      have the same negative effect on the company as dissemination of the above-referenced
                         21      materials. To allow the dissemination of confidential and/or proprietary information
                         22      would compromise Costco’s market position and business interests by exposing its
                         23      confidential business information to competitors and individuals outside the Costco
                         24      corporation. Dissemination of these materials to outside parties exposes the Company’s
                         25      methodologies and could subject Costco to unwarranted criticism from competitors or
                         26      other third parties. Such unwarranted criticism could have potentially damaging effects on
                         27      the company’s public image and affect its relationship with consumers. Further, allowing
                         28      distribution of Costco’s policies, procedures and training materials could provide potential
                                                                              -2-

                                                                   Stipulated Protective Order
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                          1      plaintiffs and attorneys with unfair and unwarranted insight into the company’s internal
                          2      practices which, in turn, could hinder the company in subsequent litigation.
                          3            As such, this action is likely to involve trade secrets, customer and pricing lists and
                          4      other valuable research, development, commercial, financial, technical and/or proprietary
                          5      information for which special protection from public disclosure and from use for any
                          6      purpose other than prosecution of this action is warranted. Such confidential and
                          7      proprietary materials and information consist of, among other things, confidential business
                          8      or financial information, information regarding confidential business practices, or other
                          9      confidential research, development, or commercial information (including information
                         10      implicating privacy rights of third parties), information otherwise generally unavailable to
                         11      the public, or which may be privileged or otherwise protected from disclosure under state
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                         12      or federal statutes, court rules, case decisions, or common law.
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                         13            Accordingly, to expedite the flow of information, to facilitate the prompt resolution
                         14      of disputes over confidentiality of discovery materials, to adequately protect information
                         15      the parties are entitled to keep confidential, to ensure that the parties are permitted
                         16      reasonable necessary uses of such material in preparation for and in the conduct of trial,
                         17      to address their handling at the end of the litigation, and serve the ends of justice, a
                         18      protective order for such information is justified in this matter.
                         19            It is the intent of the parties that information will not be designated as confidential
                         20      for tactical reasons and that nothing be so designated without a good faith belief that it has
                         21      been maintained in a confidential, non-public manner, and there is good cause why it
                         22      should not be part of the public record of this case.
                         23

                         24

                         25         2. DEFINITIONS

                         26            2.1    Action: Ingram, Regine, et a. v. Costco Wholesale Corporation, et al.
                         27      Case No. 2:20-CV-02327-AB-(EX)
                         28            2.2    Challenging Party: a Party or Non-Party that challenges the
                                                                               -3-

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                          1      designation of information or items under this Order.
                          2            2.3    “CONFIDENTIAL” Information or Items: information (regardless of how it
                          3      is generated, stored or maintained) or tangible things that qualify for protection under
                          4      Federal Rule of Civil Procedure 26(c), and as specified above in the Good Cause
                          5      Statement.
                          6            2.4    Counsel: Outside Counsel of Record and House Counsel (as well as their
                          7      support staff).
                          8            2.5    Designating Party: a Party or Non-Party that designates information or items
                          9      that it produces in disclosures or in responses to discovery as “CONFIDENTIAL.”
                         10            2.6    Disclosure or Discovery Material: all items or information, regardless of the
                         11      medium or manner in which it is generated, stored, or maintained (including, among other
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                         12      things, testimony, transcripts, and tangible things), that are produced or generated in
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                         13      disclosures or responses to discovery in this matter.
                         14            2.7    Expert: a person with specialized knowledge or experience in a matter
                         15      pertinent to the litigation who has been retained by a Party or its counsel to serve as an
                         16      expert witness or as a consultant in this Action.
                         17            2.8    House Counsel: attorneys who are employees of a party to this Action. House
                         18      Counsel does not include Outside Counsel of Record or any other outside counsel.
                         19            2.9    Non-Party: any natural person, partnership, corporation, association, or other
                         20      legal entity not named as a Party to this action.
                         21            2.10 Outside Counsel of Record: attorneys who are not employees of a party to
                         22      this Action but are retained to represent or advise a party to this Action and have appeared
                         23      in this Action on behalf of that party or are affiliated with a law firm which has appeared
                         24      on behalf of that party, and includes support staff.
                         25            2.11 Party: any party to this Action, including all of its officers, directors,
                         26      employees, consultants, retained experts, and Outside Counsel of Record (and their
                         27      support staffs).
                         28
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                                                                   Stipulated Protective Order
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                          1            2.12 Producing Party: a Party or Non-Party that produces Disclosure or Discovery
                          2      Material in this Action.
                          3            2.13 Professional Vendors: persons or entities that provide litigation support
                          4      services   (e.g.,   photocopying,     videotaping,     translating,   preparing   exhibits   or
                          5      demonstrations, and organizing, storing, or retrieving data in any form or medium) and
                          6      their employees and subcontractors.
                          7            2.14 Protected Material: any Disclosure or Discovery Material that is designated
                          8      as “CONFIDENTIAL.”
                          9            2.15 Receiving Party: a Party that receives Disclosure or Discovery Material from
                         10      a Producing Party.
                         11         3. SCOPE
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                         12            The protections conferred by this Stipulation and Order cover not only Protected
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                         13      Material (as defined above), but also (1) any information copied or extracted from
                         14      Protected Material; (2) all copies, excerpts, summaries, or compilations of Protected
                         15      Material; and (3) any testimony, conversations, or presentations by Parties or their Counsel
                         16      that might reveal Protected Material.
                         17            Any use of Protected Material at trial shall be governed by the orders of the trial
                         18      judge. This Order does not govern the use of Protected Material at trial.
                         19

                         20         4. DURATION
                         21             Even after final disposition of this litigation, the confidentiality obligations
                         22      imposed by this Order shall remain in effect until a Designating Party agrees otherwise
                         23      in writing or a court order otherwise directs. Final disposition shall be deemed to be the
                         24      later of (1) dismissal of all claims and defenses in this Action, with or without prejudice;
                         25      and (2) final judgment herein after the completion and exhaustion of all appeals,
                         26      rehearings, remands, trials, or reviews of this Action, including the time limits for filing
                         27      any motions or applications for extension of time pursuant to applicable law.
                         28
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                          1         5. DESIGNATING PROTECTED MATERIAL
                          2             5.1   Exercise of Restraint and Care in Designating Material for Protection. Each
                          3      Party or Non-Party that designates information or items for protection under this Order
                          4      must take care to limit any such designation to specific material that qualifies under the
                          5      appropriate standards. The Designating Party must designate for protection only those
                          6      parts of material, documents, items, or oral or written communications that qualify so that
                          7      other portions of the material, documents, items, or communications for which protection
                          8      is not warranted are not swept unjustifiably within the ambit of this Order.
                          9            Mass, indiscriminate, or routinized designations are prohibited. Designations that
                         10      are shown to be clearly unjustified or that have been made for an improper purpose (e.g.,
                         11      to unnecessarily encumber the case development process or to impose unnecessary
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                         12      expenses and burdens on other parties) may expose the Designating Party to sanctions.
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                         13            If it comes to a Designating Party’s attention that information or items that it
                         14      designated for protection do not qualify for protection, that Designating Party must
                         15      promptly notify all other Parties that it is withdrawing the inapplicable designation.
                         16            5.2    Manner and Timing of Designations. Except as otherwise provided in this
                         17      Order (see, e.g., second paragraph of section 5.2(a) below), or as otherwise stipulated or
                         18      ordered, Disclosure or Discovery Material that qualifies for protection under this Order
                         19      must be clearly so designated before the material is disclosed or produced.
                         20            Designation in conformity with this Order requires:
                         21                   (a)    for information in documentary form (e.g., paper or electronic
                         22      documents, but excluding transcripts of depositions or other pretrial or trial proceedings),
                         23      that the Producing Party affix at a minimum, the legend “CONFIDENTIAL” (hereinafter
                         24      “CONFIDENTIAL legend”), to each page that contains protected material. If only a
                         25      portion or portions of the material on a page qualifies for protection, the Producing Party
                         26      also must clearly identify the protected portion(s) (e.g., by making appropriate markings
                         27      in the margins).
                         28
                                                                              -6-

                                                                   Stipulated Protective Order
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                          1            A Party or Non-Party that makes original documents available for inspection need
                          2      not designate them for protection until after the inspecting Party has indicated which
                          3      documents it would like copied and produced. During the inspection and before the
                          4      designation, all of the material made available for inspection shall be deemed
                          5      “CONFIDENTIAL.” After the inspecting Party has identified the documents it wants
                          6      copied and produced, the Producing Party must determine which documents, or portions
                          7      thereof, qualify for protection under this Order. Then, before producing the specified
                          8      documents, the Producing Party must affix the “CONFIDENTIAL legend” to each page
                          9      that contains Protected Material. If only a portion or portions of the material on a page
                         10      qualifies for protection, the Producing Party also must clearly identify the protected
                         11      portion(s) (e.g., by making appropriate markings in the margins).
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                         12                  (b) for testimony given in depositions that the Designating Party identify the
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                         13      Disclosure or Discovery Material on the record, before the close of the deposition all
                         14      protected testimony.
                         15                  (c) for information produced in some form other than documentary and for any
                         16      other tangible items, that the Producing Party affix in a prominent place on the exterior of
                         17      the container or containers in which the information is stored the legend
                         18      “CONFIDENTIAL.” If only a portion or portions of the information warrants protection,
                         19      the Producing Party, to the extent practicable, shall identify the protected portion(s).
                         20            5.3      Inadvertent Failures to Designate. If timely corrected, an inadvertent failure
                         21      to designate qualified information or items does not, standing alone, waive the Designating
                         22      Party’s right to secure protection under this Order for such material. Upon timely
                         23      correction of a designation, the Receiving Party must make reasonable efforts to assure
                         24      that the material is treated in accordance with the provisions of this Order.
                         25

                         26            6.       CHALLENGING CONFIDENTIALITY DESIGNATIONS
                         27            6.1      Timing of Challenges. Any Party or Non-Party may challenge a designation
                         28      of confidentiality at any time that is consistent with the Court’s Scheduling Order.
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                          1            6.2      Meet and Confer. The Challenging Party shall initiate the dispute
                          2      resolution process under Local Rule 37.1 et seq.
                          3            6.3      The burden of persuasion in any such challenge proceeding shall be on the
                          4      Designating Party. Frivolous challenges, and those made for an improper purpose (e.g.,
                          5      to harass or impose unnecessary expenses and burdens on other parties) may expose the
                          6      Challenging Party to sanctions. Unless the Designating Party has waived or withdrawn
                          7      the confidentiality designation, all parties shall continue to afford the material in
                          8      question the level of protection to which it is entitled under the Producing Party’s
                          9      designation until the Court rules on the challenge.
                         10

                         11            7.       ACCESS TO AND USE OF PROTECTED MATERIAL
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                         12            7.1      Basic Principles. A Receiving Party may use Protected Material that is
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                         13      disclosed or produced by another Party or by a Non-Party in connection with this Action
                         14      only for prosecuting, defending, or attempting to settle this Action. Such Protected
                         15      Material may be disclosed only to the categories of persons and under the conditions
                         16      described in this Order. When the Action has been terminated, a Receiving Party must
                         17      comply with the provisions of section 13 below (FINAL DISPOSITION).
                         18            Protected Material must be stored and maintained by a Receiving Party at a location
                         19      and in a secure manner that ensures that access is limited to the persons authorized under
                         20      this Order.
                         21            7.2      Disclosure of “CONFIDENTIAL” Information or Items. Unless otherwise
                         22      ordered by the court or permitted in writing by the Designating Party, a Receiving Party
                         23      may disclose any information or item designated “CONFIDENTIAL” only to:
                         24                  (a) the Receiving Party’s Outside Counsel of Record in this Action, as well as
                         25      employees of said Outside Counsel of Record to whom it is reasonably necessary to
                         26      disclose the information for this Action;
                         27                  (b) the officers, directors, and employees (including House Counsel) of the
                         28      Receiving Party to whom disclosure is reasonably necessary for this Action;
                                                                               -8-

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                          1               (c) Experts (as defined in this Order) of the Receiving Party to whom
                          2      disclosure is reasonably necessary for this Action and who have signed the
                          3      “Acknowledgment and Agreement to Be Bound” (Exhibit A);
                          4               (d) the court and its personnel;
                          5               (e) court reporters and their staff;
                          6               (f)    professional jury or trial consultants, mock jurors, and Professional
                          7      Vendors to whom disclosure is reasonably necessary for this Action and who have signed
                          8      the “Acknowledgment and Agreement to Be Bound” (Exhibit A);
                          9               (g) the author or recipient of a document containing the information or a
                         10      custodian or other person who otherwise possessed or knew the information;
                         11               (h) during their depositions, witnesses, and attorneys for witnesses, in the
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                         12      Action to whom disclosure is reasonably necessary provided: (1) the deposing party
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                         13      requests that the witness sign the form attached as Exhibit 1 hereto; and (2) they will not
                         14      be permitted to keep any confidential information unless they sign the “Acknowledgment
                         15      and Agreement to Be Bound” (Exhibit A), unless otherwise agreed by the Designating
                         16      Party or ordered by the court. Pages of transcribed deposition testimony or exhibits to
                         17      depositions that reveal Protected Material may be separately bound by the court reporter
                         18      and may not be disclosed to anyone except as permitted under this Stipulated Protective
                         19      Order; and
                         20               (i)    any mediator or settlement officer, and their supporting personnel,
                         21      mutually agreed upon by any of the parties engaged in settlement discussions.
                         22

                         23            8. PROTECTED MATERIAL SUBPOENAED OR ORDERED
                         24               PRODUCED IN OTHER LITIGATION
                         25            If a Party is served with a subpoena or a court order issued in other litigation that
                         26      compels disclosure of any information or items designated in this Action as
                         27      “CONFIDENTIAL,” that Party must:
                         28                (a)    promptly notify in writing the Designating Party. Such notification shall
                                                                              -9-

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                          1   include a copy of the subpoena or court order;
                          2                 (b)     promptly notify in writing the party who caused the subpoena or order to
                          3   issue in the other litigation that some or all of the material covered by the subpoena or
                          4   order is subject to this Protective Order. Such notification shall include a copy of this
                          5   Stipulated Protective Order; and
                          6                 (c)     cooperate with respect to all reasonable procedures sought to be pursued
                          7   by the Designating Party whose Protected Material may be affected.
                          8            If the Designating Party timely seeks a protective order, the Party served with the
                          9   subpoena or court order shall not produce any information designated in this action as
                         10   “CONFIDENTIAL” before a determination by the court from which the subpoena or order
                         11   issued, unless the Party has obtained the Designating Party’s permission. The Designating
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                         12   Party shall bear the burden and expense of seeking protection in that court of its
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                         13   confidential material and nothing in these provisions should be construed as authorizing
                         14   or encouraging a Receiving Party in this Action to disobey a lawful directive from another
                         15   court.
                         16

                         17            9.     A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE PRODUCED IN

                         18                   THIS LITIGATION

                         19            The terms of this Order are applicable to information produced by a Non-Party in
                         20   this Action and designated as “CONFIDENTIAL.” Such information produced by Non-
                         21   Parties in connection with this litigation is protected by the remedies and relief provided
                         22   by this Order. Nothing in these provisions should be construed as prohibiting a Non-Party
                         23   from seeking additional protections.
                         24                 (a) In the event that a Party is required, by a valid discovery request, to produce
                         25   a Non-Party’s confidential information in its possession, and the Party is subject to an
                         26   agreement with the Non-Party not to produce the Non-Party’s confidential information,
                         27   then the Party shall:
                         28                       (1) promptly notify in writing the Requesting Party and the Non-Party that
                                                                               -10-

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                          1   some or all of the information requested is subject to a confidentiality agreement with a
                          2   Non-Party;
                          3                  (2) promptly provide the Non-Party with a copy of the Stipulated
                          4   Protective Order in this Action, the relevant discovery request(s), and a reasonably specific
                          5   description of the information requested; and
                          6                  (3) make the information requested available for inspection by the Non-
                          7   Party, if requested.
                          8               (b) If the Non-Party fails to seek a protective order from this court within 14
                          9   days of receiving the notice and accompanying information, the Receiving Party may
                         10   produce the Non-Party’s confidential information responsive to the discovery request. If
                         11   the Non-Party timely seeks a protective order, the Receiving Party shall not produce any
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                         12   information in its possession or control that is subject to the confidentiality agreement
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                         13   with the Non-Party before a determination by the court. Absent a court order to the
                         14   contrary, the Non-Party shall bear the burden and expense of seeking protection in this
                         15   court of its Protected Material.
                         16

                         17         10.      UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
                         18         If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed
                         19   Protected Material to any person or in any circumstance not authorized under this
                         20   Stipulated Protective Order, the Receiving Party must immediately (a) notify in writing
                         21   the Designating Party of the unauthorized disclosures, (b) use its best efforts to retrieve all
                         22   unauthorized copies of the Protected Material, (c) inform the person or persons to whom
                         23   unauthorized disclosures were made of all the terms of this Order, and (d) request such
                         24   person or persons to execute the “Acknowledgment and Agreement to Be Bound” that is
                         25   attached hereto as Exhibit A.
                         26

                         27         11.      INADVERTENT PRODUCTION OF PRIVILEGED OR
                         28                  OTHERWISE PROTECTED MATERIAL
                                                                           -11-

                                                                 Stipulated Protective Order
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                          1          When a Producing Party gives notice to Receiving Parties that certain inadvertently
                          2   produced material is subject to a claim of privilege or other protection, the obligations of
                          3   the Receiving Parties are those set forth in Federal Rule of Civil Procedure 26(b)(5)(B).
                          4   This provision is not intended to modify whatever procedure may be established in an e-
                          5   discovery order that provides for production without prior privilege review. Pursuant to
                          6   Federal Rule of Evidence 502(d) and (e), insofar as the parties reach an agreement on the
                          7   effect of disclosure of a communication or information covered by the attorney-client
                          8   privilege or work product protection, the parties may incorporate their agreement in the
                          9   stipulated protective order submitted to the court.
                         10

                         11         12.     MISCELLANEOUS
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                         12          12.1 Right to Further Relief. Nothing in this Order abridges the right of any person
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                         13   to seek its modification by the Court in the future.
                         14          12.2 Right to Assert Other Objections. By stipulating to the entry of this Protective
                         15   Order no Party waives any right it otherwise would have to object to disclosing or
                         16   producing any information or item on any ground not addressed in this Stipulated
                         17   Protective Order. Similarly, no Party waives any right to object on any ground to use in
                         18   evidence of any of the material covered by this Protective Order.
                         19          12.3 Filing Protected Material. A Party that seeks to file under seal any Protected
                         20   Material must comply with Civil Local Rule 79-5. Protected Material may only be filed
                         21   under seal pursuant to a court order authorizing the sealing of the specific Protected
                         22   Material at issue. If a Party's request to file Protected Material under seal is denied by the
                         23   court, then the Receiving Party may file the information in the public record unless
                         24   otherwise instructed by the court.
                         25

                         26         13.     FINAL DISPOSITION
                         27          After the final disposition of this Action, as defined in paragraph 4, within 60 days
                         28   of a written request by the Designating Party, each Receiving Party must return all
                                                                           -12-

                                                                 Stipulated Protective Order
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                          1   Protected Material to the Producing Party or destroy such material. As used in this
                          2   subdivision, “all Protected Material” includes all copies, abstracts, compilations,
                          3   summaries, and any other format reproducing or capturing any of the Protected Material.
                          4   Whether the Protected Material is returned or destroyed, the Receiving Party must submit
                          5   a written certification to the Producing Party (and, if not the same person or entity, to the
                          6   Designating Party) by the 60 day deadline that (1) identifies (by category, where
                          7   appropriate) all the Protected Material that was returned or destroyed and (2)affirms that
                          8   the Receiving Party has not retained any copies, abstracts, compilations, summaries or any
                          9   other format reproducing or capturing any of the Protected Material. Notwithstanding this
                         10   provision, Counsel are entitled to retain an archival copy of all pleadings, motion papers,
                         11   trial, deposition, and hearing transcripts, legal memoranda, correspondence, deposition
MCCUNE & HARBER, LLP
515 SOUTH FIGUEROA ST.
LOS ANGELES, CA 90071
  Fax (213) 689-2501




                         12   and trial exhibits, expert reports, attorney work product, and consultant and expert work
    (213) 689-2500




                         13   product, even if such materials contain Protected Material. Any such archival copies that
                         14   contain or constitute Protected Material remain subject to this Protective Order as set forth
                         15   in Section 4 (DURATION).
                         16

                         17         14.    BREACH
                         18          Any violation of this Order may be punished by any and all appropriate measures
                         19   including, without limitation, contempt proceedings and/or monetary sanctions.
                         20

                         21   IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.
                         22
                              DATED:       October 15, 2020                  PARRIS LAW FIRM
                         23

                         24
                                                                             By:
                         25                                                        JASON P. FOWLER, ESQ.
                                                                                   RYAN K. KAHL, ESQ.
                         26                                                        NADER S. SABAWI, ESQ.
                                                                             Attorney for Plaintiffs, REGINE INGRAM
                         27                                                  and EUGENE INGRAM
                         28
                                                                          -13-

                                                                Stipulated Protective Order
                          Case 2:20-cv-02327-AB-E Document 21 Filed 10/19/20 Page 14 of 15 Page ID #:236


                              DATED:      October 16
                                                  __, 2020                McCUNE & HARBER, LLP
                          1

                          2                                               By:
                                                                                STEPHEN M. HARBER, ESQ.
                          3                                                     BABAK SHIRDEL, ESQ.
                                                                          Attorney for Defendant, COSTCO
                          4                                               WHOLESALE CORPORATION
                          5
                              FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.
                          6

                          7
                                      10/19/20
                              DATED: ______________________________
                          8

                          9     /S/ CHARLES F. EICK
                              __________________________________
                         10   Hon. CHARLES F. EICK
                              United States Magistrate
                         11   Judge
MCCUNE & HARBER, LLP
515 SOUTH FIGUEROA ST.
LOS ANGELES, CA 90071
  Fax (213) 689-2501




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    (213) 689-2500




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                                                             Stipulated Protective Order
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                          1                                          EXHIBIT A
                          2                ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
                          3

                          4         I,__________________________, [print or type full name], of
                          5   ____________________ [print or type full address], declare under penalty of perjury
                          6   that I have read in its entirety and understand the Stipulated Protective Order that was
                          7   issued by the United States District Court for the Central District of California on
                          8   _______________in the case of Ingram, Regine, et a. v. Costco Wholesale Corporation,
                          9   et al. Case No. 2:20-CV-02327-AB-(EX)
                         10         I agree to comply with and to be bound by all the terms of this Stipulated
                         11   Protective Order and I understand and acknowledge that failure to so comply could
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515 SOUTH FIGUEROA ST.
LOS ANGELES, CA 90071
  Fax (213) 689-2501




                         12   expose me to sanctions and punishment in the nature of contempt. I solemnly promise
    (213) 689-2500




                         13   that I will not disclose in any manner any information or item that is subject to this
                         14   Stipulated Protective Order to any person or entity except in strict compliance with the
                         15   provisions of this Order.
                         16         I further agree to submit to the jurisdiction of the United States District Court for
                         17   the Central District of California for the purpose of enforcing the terms of this Stipulated
                         18   Protective Order, even if such enforcement proceedings occur after termination of this
                         19   action. I hereby appoint ________________________________ [print or type full name]
                         20   of ________________________________ [print or type full address and telephone
                         21   number] as my California agent for service of process in connection with this action or
                         22   any proceedings related to enforcement of this Stipulated Protective Order.
                         23

                         24   Date: __________________________________
                         25   City and State where sworn and signed: ____________________________________
                         26   Printed name: _______________________________________
                         27   Signature:    _________________________________________
                         28
                                                                          -15-

                                                                Stipulated Protective Order
